Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22

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Attorneys for Creditor California
Department of Health Care Services

Doc 17 Pg. 1 of 42

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

In re

BORREGO COMMUNITY HEALTH
FOUNDATION, a California nonprofit
public benefit foundation,

Debtor and Debtor in Possession,

Case No. 22-90056-LT

DECLARATION OF DANA
DURHAM IN SUPPORT OF
CREDITOR CALIFORNIA
DEPARTMENT OF HEALTH
CARE SERVICES’ OPPOSITION
TO DEBTOR’S EX PARTE
APPLICATION
SUPPLEMENTING EMERGENCY
MOTION

Dept.:
Judge:

Courtroom: Dept. 3
Hon. Laura S. Taylor

 

 

BORREGO COMMUNITY HEALTH
FOUNDATION, a California nonprofit
public benefit corporation,

Plaintiff,
V.
CALIFORNIA DEPARTMENT OF
HEALTH CARE SERVICES, by and
through its Director, Michelle Baass,

Defendant.

 

 

1

 

Durham Decl. in Supp. of DHCS’s Opp. To Debtor’s App. Supp. Emerg. Mtn. (22-02384)

 
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I, Dana Durham, declare:

1. Ihave been employed by the California Department of Health Care
Services (DHCS) since May 15, 2013. My current position is the Chief of the
Managed Care Quality and Monitoring Division of DHCS. I have held this position
since October 2021 and am responsible for monitoring and overseeing the Medi-Cal
managed care health plans that manage health care for nearly 80 percent of
Californians enrolled in Medi-Cal. In addition to monitoring and oversight,
MCQMD analyzes data reported by the plans, develops policies, and assesses
whether the plans have an enough health care providers to meet the needs of their
Medi-Cal members.

2. Previously, I was the Chief of the Policy and Medical Monitoring
Branch, Managed Care Quality and Monitoring Division of DHCS. I held this
position from July 18, 2016 to October 2021 and I was responsible for the oversight
of the Branch, including clinical and non-clinical staff.

3. Before that I was Contract Compliance Section Chief from March 23,
2015 to July 17, 2016. Before that I was the Special Projects Unit Chief from May
15, 2013 to March 22, 2015.

4. The facts set forth herein are of my own personal knowledge and if
sworn I could and would testify competently hereto.

5. On August 19, 2022, DHCS notified Borrego Community Health
Foundation (Borrego) that DHCS was reimposing its November 18, 2020 full
payment suspension as to Borrego, effective September 29, 2022. This full payment
suspension would prohibit Borrego from receiving any reimbursement for Medi-
Cal services, whether medical or dental.

6. On August 19, 2022, DHCS also sent an email to the potentially
impacted Medi-Cal Managed Care Plans (MCPs), to provide notice of the full
payment suspension. These eight potentially impacted MCPs. which have members

at Borrego, are Aetna, Blue Shield, Community Health Group, California Health
2

 

Durham Decl. in Supp. of DHCS’s Opp. To Debtor’s App. Supp. Emerg. Mtn. (22-02384)

 
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and Wellness Plan, Health Net, Inland Empire Health Plan (IEHP), Molina, and
UnitedHealthcare Community Plan. A true and complete copy of an example
August 19, 2022 email sent to IEHP is attached hereto as Exhibit “A”.

7. In order to ensure uninterrupted medical care for Medi-Cal members
receiving care at Borrego facilities and to prepare for all possibilities, DHCS also
Stated in this email that these MCPs must submit transition plans to DHCS setting
out how the MCPs would be able to transition Borrego patients to new providers if
Borrego were no longer in their networks.

8. In this email, DHCS required the transition plans to include, in part, “[a]
description of how the full payment suspension and a potential contract termination
could affect members’ access to covered services” and the MCPs’ “plan to monitor
and oversee a potential transition of members on an ongoing basis.” (Emphasis
added.) At no point in this email did DHCS instruct MCPs to terminate contracts
with Borrego or to transfer Borrego patients.

9. On September 9, 2022, DHCS sent an email to the potentially impacted
MCPs with updated information as to which National Provider Identifier (NPI)
numbers were subject to the full payment suspension. At no point in this
communication did DHCS indicate that the MCPs must terminate contracts with
Borrego or to transfer patients assigned to Borrego. A true and complete copy of an
example September 9, 2022 email sent to IEHP is attached hereto as Exhibit “B”’.

10. On September 27, 2022, IEHP informed DHCS that it was not
proceeding with termination of its contract with Borrego and was awaiting any
further instructions as to the payment suspension in light of Borrego’s institution of
bankruptcy proceedings. A true and complete copy of this email is attached hereto
as Exhibit “C”.

11. On September 28, 2022, DHCS sent an email to the potentially impacted
MCPs stating that DHCS was extending the effective date of the full payment

suspension from September 29, 2022 to October 6, 2022. DHCS noted that,
3

 

Durham Decl. in Supp. of DHCS’s Opp. To Debtor’s App. Supp. Emerg. Mtn. (22-02384)

 
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therefore, the operational date of the full payment suspension is October 6, 2022.
DHCS specified that, pursuant to All Plan Letter (APL) 21-003, it continued to not
mandate any provider contract terminations. A true and complete copy of an
example of the September 28, 2022 email, the email sent to IEHP, is attached
hereto as Exhibit “D”.

12. On March 3, 2021, DHCS issued APL 21-003. APLs are the means by
which DHCS conveys information or interpretation of changes in policy or
procedure at the Federal or State levels, and provides instruction to MCPs, if
applicable, on how to implement these changes on an operational basis.

13. APL 21-003, which is entitled “Medi-Cal Network Provider and

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11 | Subcontractor Terminations,” specifies that “MCPs are not obligated to terminate
12 | contracts with Network Providers and Subcontractors placed under a payment

13 | suspension. MCPs may continue the contractual relationship; however, MCPs may
14 | not pay the Network Provider/Subcontractor until the suspension is lifted.” A true
15 | and complete copy of APL 21-003, and its attachments, is attached hereto as

16 | Exhibit “E”.

17 14. DHCS has not instructed the potentially impacted MCPs to terminate

18 | contracts with Borrego.

19 15. DHCS is aware of only one potentially impacted MCP, Blue Shield,

20 | which plans to terminate its contract with Borrego. DHCS never instructed Blue
21 | Shield to do so.

ae 16. DHCS has not instructed the potentially impacted MCPs to transfer

23 | Borrego patients.

24 17. DHCS is not aware of the Department of Managed Health Care (DMHC)
25 | issuing any instructions to MCPs to terminate contracts with Borrego or to transfer
26 | Borrego patients.

27 18. TEHP never informed DHCS of any intent to transfer any Borrego

 

28 | patients.
4

 

 

Durham Decl. in Supp. of DHCS’s Opp. To Debtor’s App. Supp. Emerg. Mtn. (22-02384)
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 5of 42

 

] 19. No statement in this declaration is to be construed as DHCS limiting its
2 | discretion as the Single State Agency to administer the Medi-Cal program,
3 | including the exercise of DHCS’s authority to investigate and deter fraud, waste,
4 | and abuse.
5
6 I declare under penalty of perjury under the laws of the State of California that
7 | the foregoing is true and correct. Executed on September 29, 2022 in Sacranento,
8 | California.
9 Dana Dita signed by Dana

Le Duran __/ sae

1] Managed Care Quality and Monitoring Division Chief

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Durham Decl. in Supp. of DHCS’s Opp. To Debtor’s App. Supp. Emerg. Mtn. (22-02384)

 
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EXHIBIT A
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 7 of 42

From: DHCS MCQMD

Sent: Friday, August 19, 2022 4:17 PM

To: Erika Oduro <Oduro-E@iehp.org>; complianceregulatoryaffairs@iehp.org

Ce: Jarrod McNaughton <mcnaughton-j@iehp.org>; jlopez@Ilhpc.org; Linnea Koopmans
<lkoopmans@lhpc.org>; Cisneros, Bambi@DHCS <Bambi.Cisneros@dhcs.ca.gov>; Philip,
Susan@DHCS <Susan.Philip@dhcs.ca.gov>; Cabiedes, Rebeca@DHCs
<Rebeca.Cabiedes@dhcs.ca.gov>; Flores, Aldo@DHCS <Aldo.Flores@dhcs.ca.gov>; Talmage,
Jennifer@DHCS <Jennifer.Talmage@dhcs.ca.gov>

Subject: Action Needed: Borrego Payment Suspension Transition Plan

Importance: High

Dear Inland Empire Health Plan,

Borrego Community Health Foundation (Borrego) remains under investigation for
credible allegations of fraud against the Medi-Cal program. The Department of Health
Care Services (DHCS) placed all National Provider Identifiers (NPI) associated with
Borrego under a partial payment suspension for rendered Medi-Cal dental services,
effective January 27, 2021. DHCS is now reimposing a full payment suspension of all
NPIs associated with Borrego effective September 29, 2022, to allow time for DHCS
to work with the MCPs to establish a transition plan (Welfare & Institutions Code
section 14107.11; 42 Code of Federal Regulations section 455.23). At which point the
plan will no longer to be able to reimburse Borrego on claims dated on or after
September 29, 2022.

Borrego’s NPI(S) include: 1134144165, 1689741175, 1154480069, 1619036514,
1255490819, 1700946969, 1730249947, 1649330853, 1023349883, 1275849283,
1790075315, 1306131545, 1568747137, 1275809006, 1184065088, 1407288061.
1942623657, 1386069995, 1598180101, 1053717280, 1780038042, 1659824837,
1699211151, 1386180404, 1093251910, 1548795453, 1497276315, 1457873259,
1558925016, 1184267825, 1437795838, 1336789890, 1861032328, 1558901959
1255971651, 1033759311, 1104466507, 1275173676, 1730712183, 1649892761
1958987206, 1962830174, 1184674830, 1265721856, 1427268747, 1437232337
1235189978, 1548210297, 1639129372, 1700938891, 1952351686.

This email serves as formal notice that effective September 29, 2022, Inland Empire
Health Plan is prohibited from reimbursing Borrego for any services provided to Medi-
Cal members. To the extent that Borrego submits claims for reimbursement, you may
adjudicate those claims, but must withhold payment for all approved claims until
further notice from DHCS. Please immediately instruct all of your subcontractors and
network providers (collectively, “delegates”) who contract with Borrego that they are
also prohibited from reimbursing Borrego for any services provided to Medi-Cal
members.

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Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 8of 42

Inland Empire Health Plan and its delegates must ensure that any prepaid capitation
arrangements do not conflict with this reimbursement prohibition and are consistent
with state and federal requirements. Inland Empire Health Plan and its delegates
must take all necessary steps to ensure that its members continue to receive timely
access to medically necessary care.

To identify and assess the potential impact of the full payment suspension on Inland
Empire Health Plan’s provider network, as well as any members who are assigned to
one or more Borrego clinics, DHCS requires that Inland Empire Health Plan submit a

proposed transition plan to its contract manager and the MCQMD@dhcs.ca.gov inbox
no later than September 9, 2022.

The proposed transition plan must include the following:

¢ The total number of members currently assigned to any Borrego clinic broken
out by clinic.

¢ Adescription of how the full payment suspension and a potential contract
termination could affect members’ access to covered services.

e The number of Borrego members who could be assigned to a new primary

care provider (PCP) who is within time or distance standards through
reassignment with another provider.

e The number of Borrego members who could not be assigned to a new PCP

within the time or distance standards. If the MCP will no longer meet time or
distance standards, it must submit alternative access standard requests.

e The number of Borrego members receiving specialty care and/or non-specialty
mental health care who could not be assigned to a new provider within the time
or distance standards. If the MCP will no longer meet time or distance
standards, it must submit alternative access standard requests.

¢ Identify local options to leverage/take over Borrego's infrastructure to minimize
impact on members.

e Inland Empire Health Plan’s current process for monitoring Borrego after
DHCS notified Inland Empire Health Plan of concerns with Borrego in 2020.

e Inland Empire Health Plan’s plan to monitor and oversee a potential transition
of members on an ongoing basis. The monitoring plan must include:

o How Inland Empire Health Plan would ensure that referrals and
authorizations are transferred and processed timely.

© How Inland Empire Health Plan would ensure that grievances and
appeals for Borrego members are captured and processed timely.
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 9 of 42

0 How Inland Empire Health Plan would ensure timely access to services
if Borrego members are transitioned.

If Inland Empire Health Plan is a Knox-Keene licensed MCP, it must coordinate with
the Department of Managed Health Care (DMHC) if a potential contract termination
would necessitate a Block Transfer Filing (BTF). DHCS will coordinate with DMHC to
review any documents submitted as a result of any potential contract termination.
Please submit any questions you may have regarding BTFs to
BlockTransfers@dmhc

DHCS appreciates your timely submission of a transition plan to ensure that affected
members do not lose access to medically necessary covered services.

If you have any questions, please contact MCQMD@dhes.ca,gov.

Thank you,

Managed Care Quality Monitoring Division
Department of Health Care Services
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EXHIBIT B
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 11 of 42

From: DHCS MCQMD <MCQMD @dhcs.ca.gov>

Sent: Friday, September 9, 2022 12:27 PM

To: Erika Oduro <Oduro-E@iehp.org>: complianceregulatoryaffairs@iehp.org

Ce: Jarrod McNaughton <mcnaughton-j@iehp.org>; jlopez@Ihpc.org; Linnea Koopmans
<|koopmans@Ihpc.org>

Subject: RE: Action Needed: Borrego Payment Suspension Transition Plan --Updated NPI
Information--

Hello,

In the Borrego Payment Suspension Transition Plan email DHCS sent on 08/19
below, 22 NPIs were included in error. Please exclude the struck-through NPIs below
from your Borrego transition plan and do not include these NPls in the member
counts in the submission to DHCS that is due today. Due to this updated information
DHCS will accept submission until COB Tuesday, September 13th.

Borrego’s NPI(s) include: 1134144165, 1689741175, 1154480069, 1619036514,
1255490819, +700946969, 1730249947, 1649330853, 1023349883, 1275849283,
1790075315, 1306131545, 1568747137, 4275889666, 1184065088, 1407288061.
1942623657, 1386069995, 1598180101, 4053747286, 1780038042, 1659824837,
1699211151, 1386180404, 4693254940, 1548795453, 1497276315, 1457873259.
1998925016, 4484267825, 1437795838, 4336789896, 4864032328 4558904959.
4255974654, 103375931 1-4404466507, 4275473676, 1730712183, 4649892764.
4858987206, 1962830174, +484674836, 4265724856, 4427268747, 41437232337
235489978, 4548240297, 4639429372 4700938894 4952354686.

Therefore, the final list of 29 NPls are: 1134144165, 1689741 175, 1154480069,
1619036514, 1255490819, 1730249947, 1649330853, 1023349883, 1275849283,
1790075315, 1306131545, 1568747137, 1184065088, 1407288061, 1942623657
1386069995, 1598180101, 1780038042, 1659824837, 1699211151, 1386180404
1548795453, 1497276315, 1457873259, 1558925016, 1437795838, 1033759311
1730712183, 1962830174.

:

DHCS apologizes for the error.

If you have any questions, please contact MCQMD@dhcs.ca.gov.

Thank you,
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 12 of 42

Managed Care Quality Monitoring Division
Department of Health Care Services

From: DHCS MCQMD
Sent: Friday, August 19, 2022 4:17 PM
To: Erika Oduro <Oduro-E@iehp.org>: complianceregulatorvaffairs@iehp.ore

Ce: Jarrod McNaughton <mena ighton-j@iehp.org>; jlopez@|hpc.org: Linnea Koopmans
<|koopmans@\hpc.org>; Cisneros, Bambi@DHCS <Bambi,Cisneros@dhcs.ca.gov>; Philip,
Susan@DHCS <Susan,Philip@dhcs.ca.gov>; Cabiedes, Rebeca@DHCs

<Rebeca Cabiedes@dhcs.ca.gov>; Flores, Aldo@DHCS <Aldo.Flores@dhcs.ca.gov>; Talmage,
Jennifer@DHCS <Jennifer.Talmage@dhcs.ca.gov>

Subject: Action Needed: Borrego Payment Suspension Transition Plan

Importance: High

Dear Inland Empire Health Plan,

Borrego Community Health Foundation (Borrego) remains under investigation for
credible allegations of fraud against the Medi-Cal program. The Department of Health
Care Services (DHCS) placed all National Provider Identifiers (NPI) associated with
Borrego under a partial payment suspension for rendered Medi-Cal dental services,
effective January 27, 2021. DHCS is now reimposing a full payment suspension of all
NPls associated with Borrego effective September 29, 2022, to allow time for DHCS
to work with the MCPs to establish a transition plan (Welfare & Institutions Code
section 14107.11; 42 Code of Federal Regulations section 455.23). At which point the
plan will no longer to be able to reimburse Borrego on claims dated on or after
September 29, 2022.

Borrego’s NPI(S) include: 1134144165, 1689741175, 1154480069, 1619036514,
1255490819, 1700946969, 1730249947, 1649330853, 1023349883, 1275849283,
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1942623657, 1386069995, 1598180101, 1053717280, 1780038042, 1659824837,
1699211151, 1386180404, 1093251910, 1548795453, 1497276315, 1457873259,
1558925016, 1184267825, 1437795838, 1336789890, 1861032328. 1558901959,
1255971651, 1033759311, 1104466507, 1275173676, 1730712183, 1649892761,
1558987206, 1962830174, 1184674830, 1265721856, 1427268747, 1437232337
1235189978, 1548210297, 1639129372, 1700938891, 1952351686.

This email serves as formal notice that effective September 29, 2022, Inland Empire
Health Plan is prohibited from reimbursing Borrego for any services provided to Medi-
Cal members. To the extent that Borrego submits claims for reimbursement, you may
adjudicate those claims, but must withhold payment for all approved claims until
further notice from DHCS. Please immediately instruct all of your subcontractors and
network providers (collectively, “delegates”) who contract with Borrego that they are
also prohibited from reimbursing Borrego for any services provided to Medi-Cal
members.

Inland Empire Health Plan and its delegates must ensure that any prepaid capitation
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arrangements do not conflict with this reimbursement prohibition and are consistent
with state and federal requirements. Inland Empire Health Plan and its delegates
must take all necessary steps to ensure that its members continue to receive timely
access to medically necessary care.

To identify and assess the potential impact of the full payment suspension on Inland
Empire Health Plan's provider network, as well as any members who are assigned to
one or more Borrego clinics, DHCS requires that Inland Empire Health Plan submit a

proposed transition plan to its contract manager and the MCQMD@dhcs.ca.gov inbox
no later than September 9, 2022.

The proposed transition plan must include the following:

¢ The total number of members currently assigned to any Borrego clinic broken
out by clinic.

e A description of how the full payment suspension and a potential contract
termination could affect members’ access to covered services.

¢ The number of Borrego members who could be assigned to a new primary

care provider (PCP) who is within time or distance standards through
reassignment with another provider.

e The number of Borrego members who could not be assigned to a new PCP

within the time or distance standards. If the MCP will no longer meet time or
distance standards, it must submit alternative access standard requests.

¢ The number of Borrego members receiving specialty care and/or non-specialty

mental health care who could not be assigned to a new provider within the time
or distance standards. If the MCP will no longer meet time or distance
standards, it must submit alternative access standard requests.

e Identify local options to leverage/take over Borrego’s infrastructure to minimize
impact on members.

¢ Inland Empire Health Plan’s current process for monitoring Borrego after
DHCS notified Inland Empire Health Plan of concerns with Borrego in 2020.

¢ Inland Empire Health Plan’s plan to monitor and oversee a potential transition
of members on an ongoing basis. The monitoring plan must include:

o How Inland Empire Health Plan would ensure that referrals and
authorizations are transferred and processed timely.

o How Inland Empire Health Plan would ensure that grievances and
appeals for Borrego members are captured and processed timely.

o How Inland Empire Health Plan would ensure timely access to services
if Borrego members are transitioned.
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 14 of 42

If Inland Empire Health Plan is a Knox-Keene licensed MCP, it must coordinate with
the Department of Managed Health Care (DMHC) if a potential contract termination
would necessitate a Block Transfer Filing (BTF). DHCS will coordinate with DMHC to
review any documents submitted as a result of any potential contract termination.
Please submit any questions you may have regarding BTFs to

BlockTransfers@dmhc.ca.gov.

DHCS appreciates your timely submission of a transition plan to ensure that affected
members do not lose access to medically necessary covered services.

If you have any questions, please contact MCQMD@dhcs.ca,gov.
Thank you,

Managed Care Quality Monitoring Division
Department of Health Care Services
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EXHIBIT C
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 16 of 42

From: Jarrod McNaughton

To: Philip, Susan@DHCs

Ce: Cisneros, Bambi@DHCs; Durham, Dana@DHCs; Meyer, Oksana@DHCs; Busby, Stuart@DHCS; Lim,
Bruce@DHCs; Anna Wang; Susie White

Subject: RE: [External]Borrego Update

Date: Tuesday, September 27, 2022 3:30:40 PM

Attachments: image001.jpg
image242488.png

 

Thanks for asking Susan,
No, we are not proceeding with termination at this time... sorry for the confusion.

Our plan is to continue the payment suspension as instructed by DHCS at the end of this month
unless we hear otherwise from you folks based on the Borrego Health notice re their bankruptcy...

Hope that helps.

Thanks much!
Jm

Jarrod McNaughton, MBA, FACHE

Chief Executive Officer
Administration

Inland Empire Health Plan
10801 Sixth Street

Rancho Cucamonga, CA 91730
(909) 890-2010 (Office)

MecNaughton-J@iehp.org

From: Philip, Susan@DHCS <Susan.Philip@dhcs.ca.gov>
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 17 of 42

Sent: Tuesday, September 27, 2022 3:14 PM

To: Jarrod McNaughton <McNaughton-J@iehp.org>

Cc: Cisneros, Bambi@DHCS <Bambi.Cisneros@dhcs.ca.gov>; Durham, Dana@DHCs
<Dana.Durham@dhcs.ca.gov>; Meyer, Oksana@DHCs <Oksana.Meyer@dhcs.ca.gov>; Busby,
Stuart@DHCS <Stuart.Busby@dhcs.ca.gov>; Lim, Bruce@DHCS <Bruce.Lim@dhcs.ca.gov>
Subject: RE: [External]Borrego Update

[EXTERNAL EMAIL]: DO NOT CLICK links or attachments unless you recognize the sender
and know the content is safe.

Hello Jarrod,
Thanks for the note. For clarification, does this mean you are proceeding with terminating the
contract with Borrego?

Our DHCS may have related follow up questions, especially if this means the transition plan may
need to be updated to reflect the updated approach.

Thanks!

From: Jarrod McNaughton <McNaughton-J @iehp.org>

Sent: Tuesday, September 27, 2022 1:55 PM

To: Philip, Susan@DHCs <Susan.Philip@dhcs.ca.gov>
Subject: [External]Borrego Update

Greetings Susan,
Sure hope you and the team are well!

We just received this letter and | wanted to be sure you folks had a copy of this as we’re still
planning on proceeding with your direction from the previous conversation and email unless you
share otherwise,

Thanks much!
jm

Jarrod McNaughton, MBA, FACHE

Chief Executive Officer
Administration

Inland Empire Health Plan
10801 Sixth Street

Rancho Cucamonga, CA 91730
(909) 890-2010 (Office)

McNaughton-J @iehp org
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 18 of 42

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you are hereby notified that any dissemination or copy
reproduction of this message or any attachment is strictly
prohibited. If you have received this message in error, notify the
original sender immediately and delete this message and any
attachments from your computer. Thank you.
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EXHIBIT D
Case 22-90056-LT Filed 09/29/22 Entered 09/29/22 19:38:22 Doc17 Pg. 20 of 42

From: DHCS MCQMD

Sent: Wednesday, September 28, 2022 3:11 PM

To: Erika Oduro <Oduro-E@iehp.org>; complianceregulatoryaffairs@iehp.org

Cc: Jarrod McNaughton <mcnaughton-j@iehp.org>; jlopez@lhpc.org; Linnea Koopmans
<lkoopmans@lhpc.org>

Subject: FW: --URGENT — Action Needed: Borrego 100-Percent Payment Suspension — Extension of
Effective Date to 10/6/22

Importance: High

Hello Plan Partner,

The Department of Health Care Services (DHCS) has extended the effective date of
the 100-percen men nsion to Borrego Community Health Foundation
(Borrego) from September 29, 2022 to October 6, 2022 under the NPIs previously

communicated to the Plan on August 19 and September 9, 2022. The operational
date of this 100-percent payment suspension, therefore, is now October 6, 2022.

Please note that the existing partial payment suspension as to dental payments is still
in effect as to Borrego. Please also note that, pursuant to APL 21-003, DHCS
continues to not mandate provider contract terminations.

Please direct any questions regarding these actions to MCQMD@dhcs.ca.gov.

Thank you,
Managed Care Quality Monitoring Division

Department of Health Care Services

From: DHCS MCQMD
Sent: Friday, September 9, 2022 12:27 PM

To: Erika Oduro <Oduro-E@iehp.org>; complianceregulatoryaffairs@ieho.or
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Ce: Jarrod McNaughton <mcnaughton-j@iehp.org>; llopez@I|hpc.org; Linnea Koopmans
<|koopmans@\|hpc.org>

Subject: RE: Action Needed: Borrego Payment Suspension Transition Plan --Updated NPI
Information--

Hello,

In the Borrego Payment Suspension Transition Plan email DHCS sent on 08/19
below, 22 NPIs were included in error. Please exclude the struck-through NPls below
from your Borrego transition plan and do not include these NPls in the member
counts in the submission to DHCS that is due today. Due to this updated information
DHCS will accept submission until COB Tuesday, September 13th.

Borrego’s NPI(s) include: 1134144165, 1689741175, 1154480069, 1619036514,
1255490819, +700946969, 1730249947, 1649330853, 1023349883, 1275849283,
1790075315, 1306131545, 1568747137, +275869606, 1184065088, 1407288061,
1942623657, 1386069995, 1598180101, 4953747289, 1780038042, 1659824837,
1699211151, 1386180404, 4093254946, 1548795453, 1497276315, 1457873259,
1558925016, 4484267825, 1437795838, 4336789890, 4864032328 4558904959.
4255974654, 103375931 14404466507, 4275473676, 1730712183, 4649892764,
4858987206, 1962830174, 4484674830, 4265724856, 4427268747 4437232337
4235489978, 4648240297, 4639429372, +700938894, 1952354686.

Therefore, the final list of 29 NPls are: 1134144165, 1689741 175, 1154480069,
1619036514, 1255490819, 1730249947, 1649330853, 1023349883, 1275849283,
1790075315, 1306131545, 1568747137, 1184065088, 1407288061, 1942623657,
1386069995, 1598180101, 1780038042, 1659824837, 1699211151, 1386180404,
1548795453, 1497276315, 1457873259, 1558925016, 1437795838, 1033759311,
1730712183, 1962830174.

DHCS apologizes for the error.

If you have any questions, please contact MCQMD@dhcs.ca.gov.

Thank you,

Managed Care Quality Monitoring Division
Department of Health Care Services

From: DHCS MCQMD

Sent: Friday, August 19, 2022 4:17 PM

To: Erika Oduro <Oduro-E@iehp.org>; complian latorvaffairs@i f

Ce: Jarrod McNaughton <mcna ighton-j@iehp.org>; jlopez@lhpc.org: Linnea Koopmans
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<{koopmans@|hpc.org>; Cisneros, Bambi@DHCS <Bambi.Cisneros@dhcs.ca.gov>; Philip,
Susan @DHCS <Susan.Philip@dhcs.ca.gov>; Cabiedes, Rebeca@DHCs

<Rebeca, Cabiedes@dhcs.ca.gov>; Flores, Alido@DHCS <Aldo.Flores@dhcs.ca.gov>; Talmage,
Jennifer@DHCS <Jennifer.Talmage@dhcs.ca.gov>

Subject: Action Needed: Borrego Payment Suspension Transition Plan

Importance: High

Dear Inland Empire Health Plan,

Borrego Community Health Foundation (Borrego) remains under investigation for
credible allegations of fraud against the Medi-Cal program. The Department of Health
Care Services (DHCS) placed all National Provider Identifiers (NPI) associated with
Borrego under a partial payment suspension for rendered Medi-Cal dental services,
effective January 27, 2021. DHCS is now reimposing a full payment suspension of all
NPls associated with Borrego effective September 29, 2022, to allow time for DHCS
to work with the MCPs to establish a transition plan (Welfare & Institutions Code
section 14107.11; 42 Code of Federal Regulations section 455.23). At which point the
plan will no longer to be able to reimburse Borrego on claims dated on or after
September 29, 2022.

Borrego’s NPI(S) include: 1134144165, 1689741175, 1154480069, 1619036514,
1255490819, 1700946969, 1730249947, 1649330853, 1023349883, 1275849283,
1790075315, 1306131545, 1568747137, 1275809006, 1184065088, 1407288061,
1942623657, 1386069995, 1598180101, 1053717280, 1780038042, 1659824837,
1699211151, 1386180404, 1093251910, 1548795453, 1497276315, 1457873259,
1558925016, 1184267825, 1437795838, 1336789890, 1861032328, 1558901959,
1255971651, 1033759311, 1104466507, 1275173676, 1730712183, 1649892761,
1558987206, 1962830174, 1184674830, 1265721856, 1427268747, 1437232337,
1235189978, 1548210297, 1639129372, 1700938891, 1952351686.

This email serves as formal notice that effective September 29, 2022, Inland Empire
Health Plan is prohibited from reimbursing Borrego for any services provided to Medi-
Cal members. To the extent that Borrego submits claims for reimbursement, you may
adjudicate those claims, but must withhold payment for all approved claims until
further notice from DHCS. Please immediately instruct all of your subcontractors and
network providers (collectively, “delegates”) who contract with Borrego that they are
also prohibited from reimbursing Borrego for any services provided to Medi-Cal
members.

Inland Empire Health Plan and its delegates must ensure that any prepaid capitation
arrangements do not conflict with this reimbursement prohibition and are consistent
with state and federal requirements. Inland Empire Health Plan and its delegates
must take all necessary steps to ensure that its members continue to receive timely
access to medically necessary care.

To identify and assess the potential impact of the full payment suspension on Inland
Empire Health Plan’s provider network, as well as any members who are assigned to
one or more Borrego clinics, DHCS requires that Inland Empire Health Plan submit a
proposed transition plan to its contract manager and the MCQMD@dhcs.ca.gov inbox
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no later than September 9, 2022.

The proposed transition plan must include the following:

The total number of members currently assigned to any Borrego clinic broken
out by Clinic.

A description of how the full payment suspension and a potential contract
termination could affect members’ access to covered services.

The number of Borrego members who could be assigned to a new primary

care provider (PCP) who is within time or distance standards through
reassignment with another provider.

The number of Borrego members who could not be assigned to a new PCP

within the time or distance standards. If the MCP will no longer meet time or
distance standards, it must submit alternative access standard requests.

The number of Borrego members receiving specialty care and/or non-specialty

mental health care who could not be assigned to a new provider within the time
or distance standards. If the MCP will no longer meet time or distance
Standards, it must submit alternative access standard requests.

Identify local options to leverage/take over Borrego’s infrastructure to minimize
impact on members.

Inland Empire Health Plan’s current process for monitoring Borrego after
DHCS notified Inland Empire Health Plan of concerns with Borrego in 2020.

Inland Empire Health Plan’s plan to monitor and oversee a potential transition
of members on an ongoing basis. The monitoring plan must include:

o How Inland Empire Health Plan would ensure that referrals and
authorizations are transferred and processed timely.

o How Inland Empire Health Plan would ensure that grievances and
appeals for Borrego members are captured and processed timely.

o How Inland Empire Health Plan would ensure timely access to services
if Borrego members are transitioned.

If Inland Empire Health Plan is a Knox-Keene licensed MCP, it must coordinate with
the Department of Managed Health Care (DMHC) if a potential contract termination
would necessitate a Block Transfer Filing (BTF). DHCS will coordinate with DMHC to
review any documents submitted as a result of any potential contract termination.
Please submit any questions you may have regarding BTFs to

BlockTransfers@dmhc.ca.gov.
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DHCS appreciates your timely submission of a transition plan to ensure that affected
members do not lose access to medically necessary covered services.

If you have any questions, please contact MCQMD@dhces.ca.gov.

Thank you,

Managed Care Quality Monitoring Division
Department of Health Care Services
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EXHIBIT E
 

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BHCS State of California—Health and Human Services Agency

Department of Health Care Services

 

MICHELLE BAASS GAVIN NEWSOM
DIRECTOR GOVERNOR

Medi-Cal Network Provider and Subcontractor Terminations
Frequently Asked Questions (FAQs)

The following responses to FAQs provide additional guidance and clarification to Medi-
Cal managed care health plans (MCPs) regarding All Plan Letter (APL) 21-003:
Medi-Cal Network Provider and Subcontractor Terminations. APL 21-003 clarifies the
obligations of MCPs when terminating or initiating terminations of contractual
relationships between MCPs, Network Providers, and Subcontractors. ‘

Member Impact

1. What are MCPs’ responsibilities for determining which members are impacted
by the contract termination?

“Impacted” members are those who are assigned to the terminating Network
Provider or Subcontractor and must be reassigned to another Network Provider or
Subcontractor. MCPs must have awareness of their members who are assigned to
Network Providers or Subcontractors that are Primary Care Providers (PCPs),
medical groups, or Independent Physician Associations (IPAs), and Mandatory
Provider Types, which include Federally Qualified Health Centers, Rural Health
Clinics, Freestanding Birth Centers, Certified Nurse Midwives, Licensed Midwives,
and Indian Health Facilities.2:3

For terminating Network Providers or Subcontractors that are specialists or ancillary
providers and do not have assigned members, the MCP must make best efforts to
identify impacted members, which may include working with the terminating Network
Provider or Subcontractor to:

e Analyze claims data to assess which members has received services from the
terminating Network Provider or Subcontractor in the last six months:

e Identify members that are scheduled to receive services within the six months
following the termination date; or

e Assess the following that occurred within the six months prior to the termination
date:

 

' APLs and their attachments are available at:

https ://www.dhcs.ca.gov/formsandpubs/Pages/AllPlanLetters.aspx

2 PCPs can include primary care physicians as well as non-physician medical practitioners.

° Mandatory Provider Types are listed in APL 21-006: Network Certification Requirements, or
any superseding APL.
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o Referrals to specialists; and/or
o Prior authorizations.

MCPs must ensure that members who are scheduled to receive services are
properly notified of the termination, including their continuity of care rights, as
applicable.

2. Who is responsible for mailing member notices to impacted members?

MCPs are required to mail member notices to members who are impacted by the
termination. The Department of Health Care Services (DHCS) allows the MCP’s
terminating Network Provider or Subcontractor to mail member notices to members
who are impacted by the termination. However, it is ultimately the MCP’s
responsibility to ensure that member notices are mailed within the timeframes
outlined in APL 21-003.

3. Are members responsible for the costs of the services provided by the
terminated or decertified facility if they refuse to transition to a new facility?

Yes, the member would be responsible for the costs. MCPs must include in their
notice to members that they may be responsible for the costs of the services
provided by the terminated or decertified facility.

Applicability

4. Does APL 21-003 apply to individual providers that are leaving a practice,
medical group, or IPA?

Yes, APL 21-003 applies to Network Providers and Subcontractors (as defined in
APL 19-001) including individual providers who are leaving a practice, medical
group, or IPA. If the termination of the individual Network Provider or Subcontractor
meets the requirements of a “significant” termination, the MCP must notify DHCS
within the timeframe outlined in APL 21-003. All terminations, including those not
deemed as significant, must be reported to DHCS quarterly through the Network
Provider Template.

Reporting Requirements

5. Are the Quarterly Network Report Template and Network Provider Template
the same?

Yes, the Network Provider Template referenced on page one of the APL is the same
as the Quarterly Network Report Template referenced on page 12 of the APL. The

template will be referred to as the Quarterly Network Report Template throughout
the FAQ,
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6.. Are MCPs required to submit a Quarterly Network Report Template as outlined
in APL 21-003 in addition to the Provider Network Report as outlined in Exhibit
A, Attachment 6 of the MCP Contract?

No, the Quarterly Network Report Template referenced in APL 21-003 satisfies the
requirement outlined in Exhibit A, Attachment 6 of the MCP Contract.4 MCPs must
use the Quarterly Network Report Template developed by DHCS through the
Quarterly Monitoring process. To request a copy of the Quarterly Network Report
Template, email DHCS-PMU@dhcs.ca.gov.

7. Must MCPs use a DHCS template when submitting the Transition Plan?

Yes, to standardize the submissions, MCPs are required to use the Transition Plan
Template included in this FAQ. The template can also be found on the SharePoint
site created by DHCS. To request access to the SharePoint site, email
MCQMDNAU@dhcs.ca.gov.

8. What is the written notice of the termination?

The MCP must submit a written notice of the termination to DHCS by emailing its

Managed Care Operations Division Contract Manager. The written notice must be
accompanied by all required documentation within the timeframes outlined in the

APL 21-003.

MCP Network

9. Is an MCP required to seek DHCS’ approval if it terminates its contract with a
large provider group that impacts the MCP’s entire network?

If an MCP terminates a contract (whether voluntary or involuntary) with a large
provider group that significantly changes its network, requiring the MCP to enroll into
its network new providers to be able to adequately provide services to its members
and meet all Annual Network Certification components, it must notify DHCS
immediately upon the decision to terminate, or upon receiving the termination notice
from its Network Provider or Subcontractor. If necessary, DHCS may postpone the
termination date to ensure that the MCP’s members can be safely transitioned to a
new Network Provider or Subcontractor.

DHCS will collaborate with the MCP to ensure a smooth transition of members to
new providers and may require additional information from the MCP outlining its plan
to acquire new providers to build its network.

 

4 MCP boilerplate contracts are available at:
https://www.dhcs.ca.gov/provgovpart/Pages/MMCDBoilerplateContracts.aspx.
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Provider Exclusionary Status and MCP Action

10.Are MCPs required to terminate a contract with a Network Provider or

11

Subcontractor that is listed under a Payment Suspension in the Restricted
Provider Database?

No, MCPs are not required to terminate a contract with a Network Provider or
Subcontractor that is under a payment suspension. However, if an MCP continues
its contractual relationship with the Network Provider or Subcontractor that is under
a payment suspension, the MCP may not use payments made by DHCS to the MCP
for Medi-Cal members to pay the provider as long as the payment suspension is in
place.

If an MCP chooses to terminate its contract with a Network Provider or
Subcontractor that is placed under a payment suspension, the MCP must follow the
requirements set forth in APL 21-003.

.Are MCPs required to terminate a contract with a Network Provider or

Subcontractor that is listed under a Temporary Suspension in the Restricted
Provider Database?

Yes, MCPs must terminate a contract with a Network Provider or Subcontractor that
is under a temporary suspension and follow the requirements set forth in APL 21-
003.
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Transition Plan Template

MCPs must submit the Transition Plan Template below to DHCS in accordance with
APL 21-003. MCPs must provide a response for each item listed in the template. If the
item is not applicable, MCPs must indicate “N/A” in their response.

For more information on the Transition plan, please see APL 21-003, subsection titled

“Transition Plan”.

MCP Name:

 

 

Transition Plan

|

MCP Response

 

General Information

 

Provider Name

 

Effective Date of Termination

 

Reason for Termination

 

Member Notice Mail-out Date

 

Description of Administrative Actions

 

Member Impact

 

Number of members impacted by the
terminating/terminated Network
Provider/Subcontractor.

 

A “crosswalk” showing the number of
members and the names of the new
Network Providers/Subcontractors to
which the members will be reassigned
within time or distance standards.

 

The number of members who must be
reassigned to new Network
Providers/Subcontractors and continue to
have access to another Network
Provider/Subcontractor within time or
distance standards, or N/A if the provider
type does not have time or distance
standards.

 

The number of members who will be
reassigned to a Network
Provider/Subcontractor that is outside of
time or distance standards and cannot
retain access through another Network
Provider/Subcontractor within time or
distance standards, or N/A if the provider

 

 

 

 
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type does not have time or distance
standards.

 

Hospital and Facility Information (if applicable)

 

A list of specialty services available at the
terminating hospital that are not available
at other hospitals within time or distance
standards.

 

A list of contracted hospitals that the MCP
could contract with or is contracted with
within time or distance standards.

 

The number of members who will need to
change PCPs due to the terminating
hospital having a primary care clinic, or
having a PCP with admitting privileges
only at the terminating hospital.

 

 

The number of members who will need to
change specialists due to the terminating
hospital having a specialty care clinic or

group, or having specialists with admitting
privileges only at the terminating hospital.

 

 

 
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DBHCS

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HealthCareServices

  

Exclusionary Databases and Lists
Attachment A

Network Providers and Subcontractors are placed on exclusionary lists or databases when
they are no longer permitted to participate in the Medi-Cal Program due to a variety of
reasons as described in All Plan Letter (APL) 21-003.' Medi-Cal managed care health
plans (MCPs) are required to review the exclusionary databases listed below on a regular
basis, and at least monthly. MCPs must take the appropriate action outlined below upon
discovery of a Network Provider or Subcontractor on an exclusionary database or list.

 

Exclusionary
Database/List

Criteria

MCP Action

 

Suspended and
Ineligible Provider
List?

This list includes Medi-Cal
providers that are
suspended from
participation in the Medi-Cal
program.

Initiate a contract termination and submit
the appropriate documentation as
outlined in APL 21-003.

 

Restricted Provider
Database (RPD)?

 

 

Payment Suspension:
Providers are placed under
a payment suspension while
under investigation based
upon a credible allegation of
fraud.* §

 

MCPs may continue the contractual
relationship; however, reimbursements
for Medi-Cal covered services will be
withheld.

MCPs that choose to terminate the
contract must submit the appropriate
documentation as outlined in APL 21-
003.

 

 

' For more information on Networks, Network Providers, and Subcontractors, including the
definition and requirements applicable, see the MCP'’s contract with the Department of Health
Care Services (DHCS), APL 19-001, or any superseding version of that APL. MCP boilerplate
contracts are available at:
https://www.dhcs.ca.gov/provgovpart/Pages/MMCDBoilerplateContracts.aspx.

APLs can be found at: https:/Awww.dhcs.ca.gov/formsandpubs/Pages/AllPlanLetters.aspx.
? The Suspended and Ineligible List can be found at: https://files.medi-
cal.ca.gov/pubsdoco/Sand|Landing.aspx.
3 Access to the RPD is provided to each MCP’s primary and secondary plan contact list, which
is updated and maintained by DHCS Contract Managers. The sanction action is specific to the
individual rendering provider's National Provider Identifier and/or organization Tax Identification
Number as listed on the database.
* Title 42, Code of Federal Regulations (CFR) section 455.23 and Welfare and Institution Code
(WIC) section 14107.11. Part 455 of the CFR is searchable at the following link:
https://www.ecfr.gov/cgi-bin/text-

 

idx?SID=4638cff77 1f7c855b1d5596dd4260182&mc=true&node=pt42.4.455&rgn=div5. WIC is
searchable at: http://leginfo.legislature.ca.gov/faces/codes displaySection.xhtml.
° Providers under a payment suspension will be indicated as such under the “comment” column

of the database.

 
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DHCS

HealthCarcServices

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Exclusionary Databases and Lists
Attachment A

 

Exclusionary
Database/List

Criteria

MCP Action

 

Temporary Suspension:
Providers are placed on a
temporary suspension while
under investigation for fraud
or abuse, or enrollment
violations.® ”

Organizations that have
been included as
temporarily suspended do
not apply to providers
operating under that
organization, unless
otherwise stated.

Initiate a contract termination and submit
appropriate documentation as outlined in
APL 21-003. This applies to all enrolled
locations for the provider that is
temporarily suspended.

 

List of Excluded
Individuals/Entities®

This list includes individuals
and entities that are
excluded from federally
funded health care
programs for a variety of
reasons, including a
conviction for Medicare or
Medicaid fraud.

Initiate a contract termination and submit
appropriate documentation as outlined in
APL 21-003.

 

 

Procedure/Drug
Code Limitation
List?1°

This list includes Providers
that have been placed under
a procedure or drug code
limitation sanction.

 

 

MCPs may continue to contract with
providers placed on a procedure/drug
code limitation, however, MCPs will not
be paid for services provided by a
restricted provider or receive
reimbursement for those services under
restriction. Providers who fill orders for
lab tests, drugs, medical supplies, or any
other restricted services prescribed or
ordered by a provider under restriction
will not be reimbursed.

 

 

® WIC sections 14043.2 and 14043.36(a).
” Providers under a temporary Suspension are placed on the database without a comment under
the “reason code” column.
® The List of Excluded Entities can be found on the Office of Inspector General's website at:
https://oig.hhs.gov/exclusions/exclusions list.asp.
* The Procedure/Drug Code Limitation List can be found at: https://files.medi-
cal.ca.gov/pubsdoco/pdcl_home.aspx

'0 WIC section 14044.

 
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& BHCS Exclusionary Databases and Lists

Attachment A

HealthCarcServices

 

Exclusionary

Database/List Criteria MCP Action

 

 

MCPs who choose to terminate the
contract must submit appropriate
documentation as outlined in APL 21-
003.

 

 

 

 
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BHCS Facility Decertification Member Notice Template
HasithCareéervices Attachment B

John Sample

1234 Sample Street
Address 2

Any town, CA 90000

XXIXX/XXXK

The purpose of this letter is to let you know of changes in your facility's relationship with
the Medi-Cal (and Medicare) program and how these changes affect you.

On XX/XX/XXXX, Medi-Cal (and Medicare) will stop paying for you to get care at <Insert
facility name>.

You will need to choose a new facility. A facility is the place where you live and get your
care.

Why do | have to choose a new facility?

State law says that you can only get services from a licensed provider. And they must
meet Medi-Cal certification requirements. <Insert facility name> no longer meets all of
the requirements to be a Medi-Cal provider. So you will need to choose a new facility.

This letter tells you your options. And it tells you how to choose a new facility. You do
not need to move to a new place until <XX/XX/XXXX>. But you can choose to move
sooner.

How will this change affect me?
<Insert facility name> will:

¢ Still provide services to you while you are living there.

e Work with us to arrange your move to a new place.

e Assess your social and physical functions. This will help us make sure that you
are placed in a new health care facility that is best for you.

<Insert plan name> will:
¢ Work with <Insert facility name> to plan your move.
e Move your medical records, clothes, and other items to your new place.
e Contact you to talk about your options. We can also contact your family or legal
guardian.
e Check in with you after you move to see how you are doing.
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WH CS Facility Decertification Member Notice Template
HealthCarcServices Attachment B

How do | choose a new facility?

A care manager with <Insert plan name> will contact you soon. Your care manager will
tell you your options and can answer your questions or concerns. We will work with you
to choose a new place to live. We can also work with your family or other person that
helps you to choose a new facility.

The California Advocates for Nursing Home Reform (CANHR) has a web site. It has
information that can help you choose a new facility. Here is the link to the web site:
http://canhr.org/NH_Data/index.html.

What if | don’t want to move?

If you want Medi-Cal to pay for your care, you will need to move to a new place by
<XX/XX/XXXX>. If you stay at <Insert facility name> after <XX/XX/XXXX>, you may
have to pay for some or all of your services.

What if | have questions?

If you have questions, you can ask your care manager or call us at:

<Insert plan contact information>

Long-Term Care Ombudsman

You may also call your Long-Term Care Ombudsman. The Long-Term Care
Ombudsman is trained to help with questions or problems about the nursing home and
to assist you in exercising your rights. Your long-term care ombudsman is <Insert name

of local long-term care ombudsman> and can be contacted at XXX-XXX-XXXX.

If you want help with problems or you have a complaint about your health plan, you
should contact the CCl Ombudsman at 1-855-501-3077.

Please do not call your eligibility worker about these changes. This change does
not affect your Medi-Cal eligibility.
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BHC S State of California—Health and Human Services Agency

QD Department of Health Care Services

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Medi-Cal Network Provider and Subcontractor Terminations
Frequently Asked Questions (FAQs)

The following responses to FAQs provide additional guidance and clarification to Medi-
Cal managed care health plans (MCPs) regarding All Plan Letter (APL) 21-003:
Medi-Cal Network Provider and Subcontractor Terminations. APL 21-003 clarifies the
obligations of MCPs when terminating or initiating terminations of contractual
relationships between MCPs, Network Providers, and Subcontractors. '

Member Impact

1. What are MCPs’ responsibilities for determining which members are impacted
by the contract termination?

“Impacted” members are those who are assigned to the terminating Network
Provider or Subcontractor and must be reassigned to another Network Provider or
Subcontractor. MCPs must have awareness of their members who are assigned to
Network Providers or Subcontractors that are Primary Care Providers (PCPs),
medical groups, or Independent Physician Associations (IPAs), and Mandatory
Provider Types, which include Federally Qualified Health Centers, Rural Health
Clinics, Freestanding Birth Centers, Certified Nurse Midwives, Licensed Midwives,
and Indian Health Facilities.2:3

For terminating Network Providers or Subcontractors that are specialists or ancillary
providers and do not have assigned members, the MCP must make best efforts to
identify impacted members, which may include working with the terminating Network
Provider or Subcontractor to:

e Analyze claims data to assess which members has received services from the
terminating Network Provider or Subcontractor in the last six months:

e Identify members that are scheduled to receive services within the six months
following the termination date; or

e Assess the following that occurred within the six months prior to the termination
date:

 

'APLs and their attachments are available at:
https://www.dhcs.ca.gov/formsandpubs/Pages/AllPlanLetters.aspx

* PCPs can include primary care physicians as well as non-physician medical practitioners.

° Mandatory Provider Types are listed in APL 21-006: Network Certification Requirements, or
any superseding APL.
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o Referrals to specialists; and/or
o Prior authorizations.

MCPs must ensure that members who are scheduled to receive services are
properly notified of the termination, including their continuity of care rights, as
applicable.

2. Who is responsible for mailing member notices to impacted members?

MCPs are required to mail member notices to members who are impacted by the
termination. The Department of Health Care Services (DHCS) allows the MCP’s
terminating Network Provider or Subcontractor to mail member notices to members
who are impacted by the termination. However, it is ultimately the MCP’s
responsibility to ensure that member notices are mailed within the timeframes
outlined in APL 21-003.

3. Are members responsible for the costs of the services provided by the
terminated or decertified facility if they refuse to transition to a new facility?

Yes, the member would be responsible for the costs. MCPs must include in their
notice to members that they may be responsible for the costs of the services
provided by the terminated or decertified facility.

Applicability

4. Does APL 21-003 apply to individual providers that are leaving a practice,
medical group, or IPA?

Yes, APL 21-003 applies to Network Providers and Subcontractors (as defined in
APL 19-001) including individual providers who are leaving a practice, medical
group, or IPA. If the termination of the individual Network Provider or Subcontractor
meets the requirements of a “significant” termination, the MCP must notify DHCS
within the timeframe outlined in APL 21-003. All terminations, including those not
deemed as significant, must be reported to DHCS quarterly through the Network
Provider Template.

Reporting Requirements

5. Are the Quarterly Network Report Template and Network Provider Template
the same?

Yes, the Network Provider Template referenced on page one of the APL is the same
as the Quarterly Network Report Template referenced on page 12 of the APL. The
template will be referred to as the Quarterly Network Report Template throughout
the FAQ.
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6. Are MCPs required to submit a Quarterly Network Report Template as outlined
in APL 21-003 in addition to the Provider Network Report as outlined in Exhibit
A, Attachment 6 of the MCP Contract?

No, the Quarterly Network Report Template referenced in APL 21-003 satisfies the
requirement outlined in Exhibit A, Attachment 6 of the MCP Contract.4 MCPs must
use the Quarterly Network Report Template developed by DHCS through the
Quarterly Monitoring process. To request a copy of the Quarterly Network Report
Template, email DHCS-PMU@dhcs.ca.gov.

7. Must MCPs use a DHCS template when submitting the Transition Plan?

Yes, to standardize the submissions, MCPs are required to use the Transition Plan
Template included in this FAQ. The template can also be found on the SharePoint
site created by DHCS. To request access to the SharePoint site, email
MCQMDNAU@dhcs.ca.gov.

8. What is the written notice of the termination?

The MCP must submit a written notice of the termination to DHCS by emailing its

Managed Care Operations Division Contract Manager. The written notice must be
accompanied by all required documentation within the timeframes outlined in the

APL 21-003.

MCP Network

9. Is an MCP required to seek DHCS’ approval if it terminates its contract with a
large provider group that impacts the MCP’s entire network?

If an MCP terminates a contract (whether voluntary or involuntary) with a large
provider group that significantly changes its network, requiring the MCP to enroll into
its network new providers to be able to adequately provide services to its members
and meet all Annual Network Certification components, it must notify DHCS
immediately upon the decision to terminate, or upon receiving the termination notice
from its Network Provider or Subcontractor. If necessary, DHCS may postpone the
termination date to ensure that the MCP’s members can be safely transitioned to a
new Network Provider or Subcontractor.

DHCS will collaborate with the MCP to ensure a smooth transition of members to
new providers and may require additional information from the MCP outlining its plan
to acquire new providers to build its network.

 

“MCP boilerplate contracts are available at:
https://www.dhes.ca.qov/provgovpart/Pages/MMCDBoilerplateContracts.aspx.
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Provider Exclusionary Status and MCP Action

10.Are MCPs required to terminate a contract with a Network Provider or

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Subcontractor that is listed under a Payment Suspension in the Restricted
Provider Database?

No, MCPs are not required to terminate a contract with a Network Provider or
Subcontractor that is under a payment suspension. However, if an MCP continues
its contractual relationship with the Network Provider or Subcontractor that is under
a payment suspension, the MCP may not use payments made by DHCS to the MCP
for Medi-Cal members to pay the provider as long as the payment suspension is in
place.

lf an MCP chooses to terminate its contract with a Network Provider or
Subcontractor that is placed under a payment suspension, the MCP must follow the
requirements set forth in APL 21-003.

-Are MCPs required to terminate a contract with a Network Provider or

Subcontractor that is listed under a Temporary Suspension in the Restricted
Provider Database?

Yes, MCPs must terminate a contract with a Network Provider or Subcontractor that
is under a temporary suspension and follow the requirements set forth in APL 21-
003.
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Transition Plan Template

MCPs must submit the Transition Plan Template below to DHCS in accordance with
APL 21-003. MCPs must provide a response for each item listed in the template. If the
item is not applicable, MCPs must indicate “N/A” in their response.

For more information on the Transition plan, please see APL 21-003, subsection titled
“Transition Plan”.

MCP Name:

 

 

Transition Plan | MCP Response
General Information

 

 

Provider Name

 

Effective Date of Termination

 

Reason for Termination
Member Notice Mail-out Date
Description of Administrative Actions

 

 

 

Member Impact
Number of members impacted by the
terminating/terminated Network
Provider/Subcontractor.
A “crosswalk” showing the number of
members and the names of the new
Network Providers/Subcontractors to
which the members will be reassigned
within time or distance standards.
The number of members who must be
reassigned to new Network
Providers/Subcontractors and continue to
have access to another Network
Provider/Subcontractor within time or
distance standards, or N/A if the provider
type does not have time or distance
standards.
The number of members who will be
reassigned to a Network
Provider/Subcontractor that is outside of
time or distance standards and cannot
retain access through another Network
Provider/Subcontractor within time or
distance standards, or N/A if the provider

 

 

 

 

 

 

 

 
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type does not have time or distance
standards.

 

Hospital and Facility Information (if applicable)

A list of specialty services available at the
terminating hospital that are not available
at other hospitals within time or distance
standards.

A list of contracted hospitals that the MCP
could contract with or is contracted with
within time or distance standards.

The number of members who will need to
change PCPs due to the terminating
hospital having a primary care clinic, or
having a PCP with admitting privileges
only at the terminating hospital.

The number of members who will need to
change specialists due to the terminating
hospital having a specialty care clinic or
group, or having specialists with admitting
privileges only at the terminating hospital.

 

 

 

 

 

 

 

 
